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Excerpts of the Deposition of Rollin J. Soskin

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1 IN THE UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

IN RE:

VICKI E. ESRALEW, No. 04 B 24393
Debtor.

2
3
4
5

ROLLIN J. SOSKIN, EUGENE
6 TERRY, NICOLE TERRY, and

TERRY'S COMPANY, INC.,
7

Plaintiffs,
8
Vs. No. 04 A 3774

9
0

VICKI E. ESRALEW,

Defendant.
11
12
13
é 14 2004 Examination of ROLLIN Jd.
15 SOSKIN taken before CAROL RABER, Certified
16 Shorthand Reporter, pursuant to the Federal Rules
17 of Civil Procedure and the Bankruptcy Code
18 pertaining to the taking of depositions, at Suite
19 1100, 105 West Madison Street, in the City of
20 Chicago, Cook County, Illinois, commencing at
21 approximately 1:00 p.m., on the 10th day of
22 November, A.D., 2005.
23
24

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Desc Soskin
2

APPERARANCES:

MR. THOMAS C. CROOKS
Three First National Plaza

Suite 1950

‘Chicago, Illinois 60602
Tel: (312) 641-2260
Fax: (312) 641-5220

on behalf of the plaintiffs;

COHEN & KROL, by

MS. GINA B. KROL

105 W. Madison Street

Suite 1100

Chicago, Illinois 60602
Tel: (312) 368-0300

Fax: (312) 368-4559

On behalf of the defendant.

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3

INDE X

WITNESS:

ROLLIN J. SOSKIN
Examination by Ms. Krol

EXHIBITS:

Soskin Exhibit No. l

» Memorandum of Agreement

Soskin Exhibit No. 2
Memorandum of Agreement

Soskin Exhibit No. 3
Letter of 2/24/99

Soskin Exhibit No. 4

PAGE:

4

MARKED:

18

56

65

99

First Amended Adversary Complaint

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(WHEREUPON, the witness
was duly sworn.)
ROLLIN J. SOSKIN,
having been called as a witness by the
Defendant, having been first duly sworn, was
examined and testified as follows:

MS. KROL: For the record, this
deposition is being taken in the adversary
proceeding captioned Rollin J. Soskin, Eugene
Terry, Nicole Terry and Terry's Company v. Vicki
Esralew, case number 04 A 3774.

Further, this deposition is being taken
pursuant to Bankruptcy Rule 2004, notice of
deposition having been properly served upon the

deponent and by agreement of the parties.

EXAMINATION
BY MS. KROL:
Q. Could you state your name and address,
please?
A. Sure. Rollin, R-o-1l-l-i-n, J. is my

middie initial, Soskin, S-o-s-k-i-n, 9933 Lawler,
L-a-w-l-e-r Avenue, Suite 312, Skokie, Illinois
60077.

Q. Mr. Soskin, what is your occupation?

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01:09PM

01:09PM

01:09PM
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1 A. Iam an attorney is my primary

2 occupation?

3 Q. Do you have a secondary occupation?

4 A. Yes. I am trustee.of many trusts.

5 Q. Are you also a licensed accountant? 01:10PM
6 A. Licensed, no. I ama Certified Public

7 Accountant, however, by virtue of having passed

8 the CPA exam.

9 Q. Do you practice accounting?

10 A. I do not hold myself out as a Certified 01:10PM
11 Public Accountant for purposes of doing any kind
12 of a certified audit, which is the only thing I
13 would be required to have a license for.
14 Q. Do you do tax preparation?
15 A. Yes. 01:10PM
16 Q. So you do render some accounting
17 services?

18 A. I render services, even tax services, as
19 a tax attorney.
20 Q. When did you become licensed to practice 01:10PM
21 law?
22 A. (Brief pause.)
23 Q. I always have to count backwards, I
24 know.

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A, May -- I believe 1979.

Q. And when did you become a CPA?

A. I sat for the exam in May 1975 and
passed it.

Q. And what states are you licensed to 01:11PM
practice law in?

A. Currently just Illinois.

Q. Do you practice accounting in any other
state?
A. I have clients for whom I do tax work as 01:11PM

a tax attorney in many states.
Q. Have you sat for the CPA exam in any

other state?

A. That's not required.
So the answer is no. The answer is no. 01:11PM
Q. So once you pass it, you're good to go?

A. You're a CPA by virtue of passing the
test. If you want to be licensed to do certified
audits or do other accounting functions when
you're not an attorney, then you would be 01:11PM
licensed in every state that requires you to have
a license to practice there. But I'm not
licensed in any state as a CPA.

Q. You are a plaintiff in the adversary

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1 proceeding I previously alluded to, correct?

2 A. Yes.

3 Q. When did you first meet Vicki Esralew?

4 A. I believe it was time in about 1988. It

5 could have been -- somewhere between 1986 and 01:12PM
6 "88, but I believe it was 1998,

7 Q. What was the reason for that meeting?

8 A. She and her husband were referred to me

9 by an attorney, a friend of mine, who lives and

10 practices in Arizona, because they had moved back 01:12PM
11 here and needed to have some estate planning
12 done.
13 Q. And did you act as an attorney for Vicki
14 Esralew at that time?
15 A. Yes. 01:12PM
16 Q. And what was the scope of your
17 representation initially?
18 A. Initially I believe it was to prepare
19 wills and trusts for them or to review their
20 existing wills and trusts to see if they needed 01:13PM
21 to be revised for Illinois. That was that, and
22 there was also either the creation of a
23 corporation or the review and servicing of an
24 existing corporation called Capital Advertising,

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1 which Vicki used to operate, sort of like an
2 advertising agency.
3 Q. Do you have a specific area of law that
4 you practice in primarily?
5 A. I would say I'm a general practitioner 01:13PM
6 with a heavy emphasis currently on estate
7 planning, tax, and business transactions. It's
8 always been pretty much that emphasis, although
9 the estate planning has become bigger and bigger
10 to where it's dwarfing anything else. Anything a 01:14PM
11 businessman needs we can do. If he needs a
12 divorce or has a criminal matter or a labor law
13 problem, we refer him to somebody who specializes
14 or concentrates their practice in that area.
15 But for most things, we can do anything 01:14PM
16 that a businessman needs.
17 Q. After your initial representation of
18 Vicki, did you continue to represent her in other
19 matters?
20 A. Well, if you are asking if there is a 01:14PM
21 time when that representation ceased, the answer
22 is yes.
23 Q. Okay.
24 A. There were -- from the time she first

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1 came to my office, she made me the registered
2 agent -- or shortly after the first time, she
“3 made me the registered agent of Capital
4 Advertising.
5 That meant that every year I would get 01:14PM
6 the annual report form from the Secretary of
7 State, through my law firm that I was practicing
8 with at that time, and I prepare the annual
9 reports and the annual minutes of the
10 corporation. 01:15PM
“11 Shortly -- sometime shortly thereafter,
12 she had an idea for another business. So we set
13 up a corporation which was called Enivar Roads,
14 E-n-i-v-a-r, which is "ravine" backwards. She
15 was going to sell some sort of discount coupons 01:15PM
16 and get a piece of the action from retailers in
17 Hubbard Woods, or something like that. But I
18 don't think she ever went forward with it,
19 although I believe she later changed that
20 corporation -- not with me -- to become Kids 01:15PM
21 Count Entertainment, LLC. Or maybe it was with
22 me, but I don't think so though.
23 So when I created that corporation for
24 them, I acted as registered agent of that

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1 corporation and I, of course, then prepared the
2 annual reports and annual minutes for that
3 corporation.
4 The only other representation that I had
5 of them that I recall prior to 1994 when I left 01:15PM
6 -~ our contact and association ceased for an
7 extended period of time -- was involving purchase
8 or sale -- it must have been the purchase of
9 their town home in Northbrook. And some later
10 time they looked at a property, a lot, in 01:16PM
11 Northbrook to build a home on, but ended up not
12 buying it. I think that pretty thoroughly covers
13 everything that I ever did for them during that
14 first period of acquaintance.
15 Q. That would be from approximately either 01:16PM
16 "86 or '88?
17 A. I'd say "88.
18 Q. "88 to 1994?
19 A. Actually it would be sometime in mid-'93
20 is my best recollection. I think sometime after 01:16PM
21 that I was asked -- the only contact that I had
22 was to send all of the records to some other
23 lawyer.
24 Q. Do you know who that other lawyer was?

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A. Not offhand, no.

Q. Was there some --

A. I'm sure there's a copy of the letter in
all of documents that I produced to you, though.

Q. Do you recollect the reason why you
ceased representing Ms. Esralew in 1993?

A. Sure. They engaged other counsel
primarily because they had started raising money
from other investors for the business, and those
investors either had attorneys of their own or
attorneys that they wanted new entities to use or
the new venture to use.

Q. Did you continue to represent Vicki
Esralew in personal matters after that period of
time?

A. No. Didn't have any contact with her
whatsoever after some time --

And the contact in those last couple of
years, '92 and '93, even before that, was
probably just a letter, Here's your annual report

and minutes that we filled out from what's in our

records. And if you have any questions or
changes, call me. Otherwise, sign them and file
them.

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01:16PM

01:17PM

01:17PM

01:17PM
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1 So we probably had very little personal

2 contact from 1991 or '92 on, that I can think of,

3 unless it was the time they were looking at that

4 lot. And from '93 or so, after they requested

5 the records be sent somewhere else, I didn't hear 01:18PM
6 from them, to my recollection, until I ran into

7 them in June or July of 1998.

8 Q. During that initial period, say '88 to

9 '93, did you have a written retainer agreement
10 with Vicki Esralew? 01:18PM
11 A. I personally didn't. If one existed, it
12 was with the firm I was with at that time which

13 was -- let's see, it had several different name

14 changes over the years. But essentially it was

15 Evans, Soskin & Lowenstein. 01:18PM
16 And I don't recall if we had a retainer

17 agreement or not. It would have been our

18 practice to have one, though, but I wouldn't have

19 it unless it was among what I sent.
20 But I think those records -- if there 01:18PM
21 are any other records pertaining to -- I think I

22 took all of my records that I had, all my files

23 when I left Evans' office downtown. So -- and I

24 don't recall seeing a retainer agreement.

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4 Q. And just for the record, I don't recall

2 seeing it in the documents that you have

3 produced.

4 A. I don't think so. Although, again,

5 there may have been a master retainer file in 01:19PM
6 Evans' office.

7 Q. From mid-'93 to June or thereabouts of

8 "98, did you represent any business entities

9 owned, controlled or operated by Vicki Esralew?

10 A. No. . 01:19PM
11 Q. After 1998, did -- at some point after

12 that, you were re-engaged by Ms. Esralew?

13 A. Well, we ran into each other at our

14 synagogue. They joined, and the children were of

15 age to go to religious school. And she said, Oh, 01:20PM
16 it's fate that we met again. We're about to do

17 this whole big deal to sell 25 percent of our

18 company to some venture capitalists for 7 or

19 $8 million; but we need to some estate planning
20 and put some of the kids' -- some of the company 01:20PM
21 into the kids' names; and we need to update and
22 revise our estate planning.
23 And during that time she invited me to
24 come see her operation and everything else, and

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1 she instructed me to bill her company for the

2 time for everything, I think, including the

3 estate planning. And so we became re-acquainted.

4 And I guess your question was were we

5 engaged to provide additional services. At some 01:20PM
6 point during that summer or fall, they asked me

7 to analyze their situation, propose an

8 appropriate estate plan, to consult with another

9 lawyer they knew who had already made some

10 recommendations to them. And, ultimately, we 01:21PM
11 drew up amended trusts and updated powers of
12 attorneys and all the wills.
13 Q. Was there a written retention agreement
14 entered into between you and she about that time?
15 A. Not that I recall. If there was, it 01:21PM
16 would be among the documents that I produced. I
17 would have to go look through it to know that.

18 Q. When did you first become aware of Kids
19 Count Entertainment?
20 A. You need to be more specific. There are 01:21PM
21 two Kids Count Entertainments.
22 Q. I know. Either. Let's say LLC.
23 A. Well, it's a difficult question to
24 answer. The first part of the answer is Kids

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Count -- I knew Kids Count was -- when I ran into
her in the summer of 1998 and she brought me to
her office, I might have -- I might, or might
not, have noticed that now Kids Count
Entertainment now had a LLC at the end. I don't
recall.

I don't know if I actually knew it was a
LLC or that the form had changed until after --
until November of 1998, although it's possible
that I saw the LLC --

No, I take that back. I would have had
to know because in order to -- no, I'm thinking
for a second.

They kept both companies going. The
corporation became the manager of the LLC. And I
had to know something about that once they
started talking about the estate planning.

So I would say I became aware of the
existence of the LLC probably in July or August
of 1998.

Q. And what did you understand the purpose
of this company to be?
A. Well, I understood it to be the same

purpose that Kids Count Entertainment had been --

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01:22PM

01:22PM

01:22PM

01:23PM
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1 the creation and sale of child friendly
2 nonviolent/educational product.
3 Q. Did you have anything to do with the
4 organization of this LLC?
5 A. None, no. 01:23PM
6 Q. Do you know who the members of the LLC
7 were at its inception.
8 A. At its inception, no. I think I know
9 who some of them are. I don't know how they took
10 their ownership interest. I'm pretty sure Alan 01:24PM
11 Young was involved, either personally or through
12 something calls Feels Good, LLC. I suspect --
13 well, Kids Count Entertainment, Inc., was the
14 Manager and probably a member. I later learned
45 of someone named Robert Lieper, L-i-e-p-e-r, who 01:24PM
16 had owned and probably sold Nevada Bob's golf
17 company. I believe he was -- at some point was a
18 member of that company.
19 Again, I don't know at the inception who
20 was involved, but I suspect it was created when 01:24PM
21 Alan Young and his group invested over a million
22 dollars into the company.
23 Q. When did you first become aware of Kids
24 Count Entertainment, Inc., the corporation?

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1 A. I don't recall. I don't know if I did

2 the name change or if somebody after I sent the

3 records did the name change. I may have done the

4 name change. I remember it was originally Enivar

5 Roads. 01:25PM
6 Q. And so were you the incorporator of the

7 original corporation?

8 A. The incorporator?

9g Q. The attorney that assisted.
10 A. I was definitely the attorney, or 01:25PM
11 someone at my firm at my direction. But, yeah,
12 we definitely set up Enivar Roads.

13 Q. Do you remember when that was?
14 A. I would say somewhere around 1990. But,
15 again, that should be among the records that I 01:25PM
16 produced.
17 Q. And who were the officers of that

18 corporation?

19 A. I have no independent recollection
20 except that I am sure it was Vicki or Vicki and 01:25PM
21 Bob. There wouldn't be any reason to have anyone
22 else. Oh, I wouldn't be surprised, however, if I
23 was an assistant secretary in any of those
24 corporations. That was a frequent practice of

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1 ‘practice of myself, as well as many other

2 attorneys, so that clients could have a second

3 Signature if they needed one on corporate

4 documents and if the other person -- if there was

5 only one person available. 01:26PM
6 Q. Were you a shareholder in that

7 corporation?

8 A. No.

9 Q. Were you a director?
10 A. No. If anything, I would call myself a 01:26PM
11 convenience signer. Probably assistant secretary
12 would be --
13 Do you understand what I'm saying when
14 you need a second signature?
15 Q. I understand. 01:26PM
16 A. You know, a stock certificate or a
17 corporate document.
18 MS. KROL: Can you mark that as Deposition
19 Exhibit 1, please.
20 (Exhibit No. 1 marked 01:26PM
21 for identification.)
22 BY MS. KROL:
23 Q. Mr. Soskin, I'm going to show you what
24 has been marked as Soskin Deposition Exhibit 1.

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1 Do you recognize that document?
2 A. I recognize it as a copy of a document
3 that is called the Memorandum of Agreement
4 between Vicki Esralew, Robert Aren, Eugene Terry,
5 Nicole Terry, Terry's Company, Inc., and myself 01:27PM
6 and Kids Count Entertainment, Inc., and Kids’
7 Count Entertainment, LLC, which we executed on/or
8 about November 22nd, 1998.
9 So the answer is, yes, I do.
10 Q. Who drafted that document? 01:27PM
11 A It was a joint effort.
12 If you're.asking who typed it, I did.
13 If you're asking who participated in the language
14 and in the negotiation of it, I would say Vicki
15 Esralew, Robert Aren, Eugene Terry and myself. 01:27PM
16 Q. Were there drafts that preceded that
17 agreement?
18 A. Yes.
19 Q. How many drafts?
20 A. At least two, possibly three, to the 01:28PM
21 best of my recollection.
22 Q. Where was that document signed?
23 A. Where? I don't recall for sure. I'm
24 pretty confident it was at the Arens' house. But

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1 I'm not sure. It could have been at the Terrys
2 house, it could have been at my office. _I think
3 it was at the Arens house though. You: know,
4 you're talking about seven years ago to the
5 month. 01:28PM
6 Q. Who created the initial draft of the
7 document?
8 A. Iodid. I typed it. I mean, creation
9 contemplates more than just typing something
10 up in legal language though. . 01:29PM
11 In terms of who sat and discussed the
12 terms, it would be Vicki Esralew, Bob Aren,
13 Eugene Terry, Nicole Terry and myself.
14 Q. When did that meeting take place?
15 A. There was actually a number of meetings 01:29PM
16 that led to -- it was a process.
17 Q. Can you take me through that process?
18 A. Sure. I had my final meeting with Vicki
19 and Bob to sign the last of their estate
20 documents in October. 01:29PM
21 Q. October. Could you give me the year,
22 please?
23 A. 1998. They signed the last document.
24 They started me asking me if there was anybody I

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1 knew that might be interested in investing in
2 their company. They asked me about people that I
3 ~- that were clients of mine, people that weren't
4 clients of mine but who we both knew to be from
5 wealthy families. 01:29PM
6 Of course, I told her that I would have
7 to ask them. But I told her I would give it
8 thought. Because I liked her concept, I liked
9 her, I thought of her as an honest person at the
10 time, and I thought her idea had merit and that 01:30PM
11 she just needed some -- you know, she needed
12 proper investment and somebody to help her.
13 So as I left there, I actually thought
14 about the Terrys, who had sold their business,
15 who were relatively young, had money -- when I 01:30PM
16 say "relatively young," I guess they were in
17 their sixties -- but they were brilliant people,
18 successful in business, with money to invest and
19 would love the idea of nonviolent educational
20 children's products. 01:30PM
21 So I -- and this is after we finished
22 the estate planning project -- I had mentioned it
23 to the Terrys, I asked them if they would be
24 interested, and I then ultimately introduced

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1 them.
2 Q. When did you introduce the Terrys to
3 Vicki Esralew?
4 A. I can't give you the exact date offhand,
5 but I'm sure it was during the first 10 days of 01:30PM
6 November 1998.
7 So continuing the process. They met,
8 they liked each other.
9 Vicki is very charismatic and was very
10 enthusiastic about her products and also had 01:31PM
11 impressed the Terrys as somebody who was creative
12 but couldn't run a business. So the rerrys said
13 they were interested enough to spend some time
14 seeing how such a deal could be successful.
15 And so we met on several occasions at 01:31PM
16 the Arens' house. I think we met once at the
17 Terrys' house. We once had a marathon meeting at
18 my house that must have gone 10 hours. I
19 remember Gene Terry was so happy I brought in
20 corned beef and roast beef from a good deli that 01:32PM
21 he said -- he commented about it.
22 So during that meeting at my house we
23 already had some projections from Vicki about
24 various products and what she thought the sales

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1 could be if she did her infomercial and what

2 kinds of costs were involved and how to prepare

3 and make an infomercial to, you know, what

4 advertising time would cost on TV. And we came

5 up with a big spreadsheet that showed possible 01:32PM
6 projected revenues and expenses based on certain

7 assumptions.

8 Vicki had initially provided Mr. Terry

9 with all kinds of pieces of paper, you know, and
10 tried to explain her projections. And it. just 01:32PM
11 wasn't going to be in a form that an investor
12 like Mr. Terry would want to analyze an
13 investment. So they asked me if I would join
14 them to do that and help with it.
15 And I would point out at this point 01:33PM
16 there was no discussion of my involvement as an
17 owner at that time. And it first became an issue
18 of whether or not I would even be paid for any of
19 this time or.any of these services that when we
20 were doing the cash projections and Gene Terry 01:33PM
21 said, Well, we're going to have legal and
22 accounting and other expenses and I need to have
23 somebody to take the business end of this off of
24 it, and I won't even consider the investment

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1 unless you are going to be there, meaning me.

2 So we came up with all kinds orf

3 projections. And at that point there was a

4 projection Vicki wanted $12,000 a month, I think;

5 and I forget what my initial projection of the 01:33PM
6 amount was that was budgeted for me. But I can

7 tell you it was ultimately substantially reduced

8 and that I never got paid a penny by this company

9 for all the time and work I spent on it.

10 Q. So it was Mr. Terry that insisted that 01:33PM
11 you become involved in the project?
12 A. Absolutely.
13 Q. And back in October of '98 when you were
14 finishing up the estate planning and Vicki
15 approached you about investors, did she tell you 01:342M
16 why she was interested in finding investors?
17 A. Why she was interested in finding
18 investors? She was convinced that if she made an
19 infomercial and got it on the air by Christmas,
20 she would be able to sell -- well, I should say 01:34PM
21 she convinced us that she was convinced that if
22 she got her infomercial on the air, it would be a
23 huge success and that we would all make a fortune
24 between then and Christmas or we would recognize

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1 huge success between then and Christmas.

2 Q. Can you tie in for me the need for the

3 investors to this infomercial? She had an

4 existing operating company, didn't she?

5 A. Well, I'm not sure to what extent it was 01:35PM
6 operating. I know she had some sales to Zany

7 Brainy and some other educational children's

8 stores. I don't know -- all I know is when we

9 met up with her, she didn't have any financial

10 statements for the last four or five months. But 01:35PM
11 they had just brought a brand new big house and

12 seemed to be optimistic about their likelihood

13 for success. But they obviously -- but they at
14 some point during this process told me they had
15 borrowed some money from the guy across the 01:35PM
16 street, $75,000, Steve Santowski (phonetic), and

17 they had a payment to Alan Young to finish the

18 buyout of his interest.

19 So, you know, they gave us the
20 impression they were replacing investors that 01:35PM
21 wanted out. And, of course, they also told us
22 that they needed money to do this commercial over
23 and above the money to buy people out or pay
24 people off.

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1 Q. Now this was in about the beginning of
2 November you said of '98?
3 A. This whole "do you know anybody" -- from
4 the time they asked me if I knew anybody that
5 might be interested in investing until the time 01:36PM
6 we signed the agreement was about three weeks.
7 Q. And that agreement was signed
8 November 22nd?
9 A. Correct. It was all within a three-week
10 period. It was pretty intense. I mean they were 01:36PM
11 talking every day without me and with me. I mean
12 they involved me when they wanted me.
13 But they were in contact. From the time
14 that I introduced them, they were talking every
15 day and she was giving him information and he was 01:36PM
16 asking more questions. And finally, it wasn't
17 coming into an order or format that he could put
18 together.
19 Q. And that's when he asked you to get
20 involved? 01:36PM
21 A. That's when they asked if I could assist
22 them in putting together an organized projection,
23 if I would join them to do that.
24 Q. And did you do that?

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1 A. Yes. That's the meeting that took place

2 -- the marathon meeting that. took place in my

3 house. And I'm sure among the documents I gave

4 are big spreadsheets, however they were copied.

5 But they were big spreadsheets when they left my 01:37PM
6 house.

7 Q. So, in addition, how did you collect the

8 information to create these spreadsheets?

9 A. From what Vicki had given Gene.
10 And then the three of us sat there, and 01:37PM
11 I said, What about this? And Gene and Vicki
{2 would give an answer. And Gene would say, What
13 about that? And Vicki would give an answer. And
14 Gene would say, That's not reasonable, let's use
15 this number because it's more conservative. 01:37PM
16 And we actually sat and developed
17 projections that gave Gene and Terry an idea of
18 how much money would be needed and what the
19 likelihood of -- you know, what his likely
20 expenditure would be to determine if this thing 01:37PM
21 would make it or not and what his likely reward
22 was if it worked out. Like any other investor
23 it's a risk/reward analysis. How much do I have
24 to risk, and what's my upside and what's my

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1 downside.
2 Q. And he tried to be conservative in that
3 respect?
4 A. Well, I don't know what he tried to be.
5 I think that he liked Vicki and was 01:38PM
6 looking to help her if it made sense to him. I
7 wouldn't say he was being conservative or --
8 What's the opposite of conservative,
9 radical or aggressive?
10 I think he decided he liked Vicki and 01:38eM
11 her ideas. I know Nicole liked Vicki and her
12 ideas.
13 We had a Hanukah party and invited their
14 family. The Terrys welcomed them into their
15 family. 01:38PM
16 Q. Now you said earlier that Vicki was
17 charismatic and she had a lot of ideas but was
18 not a business person.
19 A. Well, she was apparently incapable of
20 keeping records without somebody else doing it. 01:38PM
21 I can't say she wasn't a businesswoman. She went
22 out and sold a ton of things. She came up with
23 these ideas, she created the product. She gave
24 us 40 other things she had in process. She

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1 apparently at some point had a deal to -- but
2 Gene Terry said if he was going to be involved,
3 he wanted her freed up to do: the creative and
4 actually finish some of the things that she
5 started as opposed to running the business. 01:39PM
6 I wouldn't say she wasn't business
7 minded; but she couldn't do everything, and she
8 was trying to.
9 Q. Was Mr. Terry a businessman?
10 A. Yes. He had -- when I first met him, he 01:39PM
11 was a lawyer but he wasn't practicing law. He
12 ‘owned part of a manufacturing company that made
13 diamond tip drill bits. And he was the chairman
14 of that company and his primary focus was the
15 operation and growth of that company. 01:39PM
16 Q. And that's the business that you alluded
17 to that was sold?
18 A. Yes, that's one of the businesses they
19 sold.
20 Nicole Terry had a business of her own 01:39PM
21 that she built up and sold.
22 Q. What kind of a business was that?
23 A. It was -- they imported machines that
24 tested the level of certain metals in other

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1 products.

2 For example, how much tin is in a tin

3 can is important to Campbell Soup. so they'll

4 buy a piece of equipment that will measure the

5 amount of tin in a tin can. 01:40PM
6 So she imported these precision testing

7 equipment pieces and sold them. And she sold her

8 company for a nice amount of money.

9 And they both had their office in the

10 office where I was practicing law. 01:40PM
11 Q. Were you ever law partners with Gene
12 Terry?
13 A. Yes. Well, we were co-shareholders of a
14 law practice at one time, but he was never an
15 active attorney during that time. He owned part 01:40PM
16 of a firm that I bought into by buying out
17 another fellow names Bill Lange who was then
18 about 75 years old. And so Gene was a

19 non-practicing lawyer that by virtue of having
20 owned part of it owned part of a law firm that I 01:40PM
21 bought into. That didn't last very long.
22 Q. So at this 10-hour meeting at your
23 home --
24 A I'm not sure it was 10... It might. have

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1 been seven or eight. It seemed like a marathon.
2 Q. Whatever. This long meeting, was anyone
3 else besides you, Vicki, and the Terrys present?
4 A. Well, I'm sure on and off my wife was
5 there. And probably -- 01:41PM
6 This was 1998?
7 Q. I'm sorry, I thought you said '98.
8 A. I'm sorry, '98. My kids were probably
9. in and out of the house or around in the house,
10 but they weren't involved in any of the meeting. 01:41PM
11 I don't recall if anybody else was
12 there. Bob and Vicki and Nicole and Gene and I
13 were all there at least part of the time. And
14 Gene and Vicki and I were probably there the
15 entire time. 01:41PM
16 Q. So this meeting concludes and then what
17 happens? Was there an agreement reached at this
18 meeting?
19 A. I don't think so. I think that Gene
20 took the numbers home and started to think about 01:41PM
21 it. And I think he wrote a letter to me which
22 you have seen which says, All right, I've decided
23 I'm willing to go forward, and I will recognize
24 you as Vicki's attorney, and here's some of the

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1 terms I would be interested in.
2 And, of course, you've got that letter
3 because Vicki's used it in many pleadings to act
4 as though I was her attorney, which I wasn't.
5 Because it was that letter that 01:42PM
6 immediately caused me to say, Hold on here. If.
7 you want me to be in this deal, I'm nobody's
8 attorney, I'm my own attorney, and everybody had
9 better get their own.
10 It was that letter that prompted that. 01:42PM
11 It was discussed numerous times with everybody.
12 And Gene said, No, I will be my own lawyer. And
13 Vicki said, I've got other advisors and she
14 represented to us that she used other lawyers and
15 advisors to advise her. 01:42PM
16 Q. Do you have some documentation to
17 support that assertion that you were not her
18 attorney?
19 A. That I --
20 Q. That she had other attorneys? 01:42PM
21 A. I have -- well, I have affidavits that I
22 previously filed from the Terrys of those
23 representations by Vicki and Bob.
24 Q. Do you have independent third party --

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A. Let me answer the question, okay.

I have the name of one attorney that she
said she had consulted. I have ‘it written down
because I can never remember his name. He used
to be in Lincolnshire though.

I have telephone memoranda or notes of
telephone conversations with her where she told
us that she consulted with her brother-in-law. I
don't remember, I think that one of her brothers
is David Dorfman, who is an attorney -- I'm
sorry, he's a businessman; and his wife, Bob's
sister, is an attorney.

And Vicki has another brother-in-law --
I'm not sure, Howard, maybe -- who is a
businessman. Plus they had numerous other
lawyers before us.

So when they told us they were
consulting with other attorneys, we had no reason
to doubt them, number one. And number two --

Q. When did these conversations about her
outside counsel take place?

A. From the moment I got that letter up to
the time that --

Q. Mr. Terry's letter?

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01:43PM

01:43PM

01:43PM

01:43PM
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1 A. Yes, up to the time that just before the

2 Signing of that agreement.

3 And that's why there was a provision

4 about it. It was inserted into our agreement.

5 I can point it to you right here. 01:44PM
6 In the exhibit you have shown me,

7 paragraph 11, it says "Each party hereto" -- and,

8 of course, that includes Vicki and Bob -- "has

9 Made such investigation of the facts and
10 circumstances and the condition of Kids Count and 01:44PM
11 of the other parties and has engaged such
12 attorneys, accountants or professionals, as they
13 determined in their own discretion to be
14 necessary or prudent in the circumstances."

15 And then they go on to waive any actual 01:44PM
16 Or apparent conflict on my part from my

17 participation of bringing them -- bringing

18 Esralew, Aren, and Kids Count together with the

19 Terrys, or from the services of Soskin to, by in
20 regard to Kids Count, Terry or Esralew, or any of 01:44PM
21 them.

22 Q. A--

23 I cut you off.

24 A. Okay, paragraph 11 specifically

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1 . contemplated exactly what we were talking about.

2 And specifically they represented that

3 they had done what they wanted to do, and that I

4 didn't represent them or anybody else.

5 Q. I'm not sure that I agree with your 01:45PM
6 interpretation of that paragraph, but that's a

7 subject for the judge to determine. I don't

8 think that we need to argue it or belabor it.

9 I understand --
10 A. Okay, but it does say that they made 01:45PM
11 their own investigation and they agreed to hold
12 me harmless and they agreed I didn't represent
13 them.
14 Q. No, I don't think they agreed that you
15 don't represent them. © 01:45PM
16 A. It says they "agree to hold Soskin
17 harmless resulting from any claims that Soskin
18 represented one party or the other or was subject
19 to a conflict of interest as between any of the
20 parties." 01:45PM
21 Q. Right. So if you didn't represent them,
22 there wouldn't be a potential for a conflict of
23 interest.
24 And, Rollin, you know what, we're not

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1 A. You asked me if I had any basis for that

2 and I said yes, I had --

3 Q. What is that independent basis?

4 A. She came back to us with changes to the

5 first draft of this agreement that I don't think 02:15PM
6 in a million years she would've come up with

7 herself without having run this by some

8 experienced financial professional or business

9 person that would have suggested these
10 modifications that she wanted made to this 02:16PM
11 agreement.
12 Q. Do you have a copy of those changes that
13 were suggested?
14 A. Sure. It's among the documents that I
15 produced. But I think I can tell you what they 02:16PM
16 are.
17 Q. Okay.
18 A. There were two additions that had to be
19 made that she wanted, at least the two things
20 that stick in my mind that she wouldn't have come 02:16PM
21 up with.
22 And you've received in your documents
23 the original early drafts of these things that
24 went back and forth and the ones that had the

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1 notes for the changes and that show the fax
2 headers with the dates.
3 At the end of paragraph 6 and at the end
4 of paragraph 7, in each of those two places, a
5 sentence was added that says "In the event of a 02:16PM
6 refinancing in excess of $2 million or a
7 recapitalization of Kids Count with new value in
8 excess of $2 million, Kids Count may demand that
9 Terry, or in the other case Soskin, exercise or
10 waive his option within 90 days of notice." 02:16PM
11 She also, I believe, came to us and said
12 that she wanted what are called bring-along
13 rights: If she decided to sell the company, she
14 could force us to be sell ours as well. That is
15 reflected in paragraph 10. And she said she 02:17PM
16 wanted bring-along rights. We said, all right,
17 then we want tag-along rights so that if you to
18 sell your interest we can be bought out at the
19 same price if we want to.
20 Q. And that was language that was suggested 02:17EM
21 by Vicki?
22 A. Yes. Well, not -- I don't know whose.
23 exact words. Those were the concepts that she
24 said she was told she had to have in there before

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1 she. could sign it.

2 Q. Were you contacted by another

3 professional businessman, attorney, or CPA?

4 A. For the third time, no.

5 Q. But I'm going to ask you. I've asked 02:17PM
6 you about Kids Count, I've asked you about

7 Terrys. I don't think I've asked you about

8 anyone on behalf of Vicki Esralew.

9 A. I think you did, but that's okay, I will
10 answer you again. 02:18PM
11 No.
12 Q. Thank you...
13 MS. KROL: All right, would you mark this as
14 Soskin Deposition Exhibit 3, please.
15 (Exhibit No. 3 marked 02:18PM
16 for identification.)
17 (Discussion off record.)
18 | BY MS. KROL:

19 Q. Mr. Soskin, I'm showing you what's been
20 marked as Soskin Exhibit No. 3. Do you recognize 02:20PM
21 that document?
22 A. I do.
23 Q. What do you recognize that to be?
24 A It's a letter dated May 5th, 1999 which

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1 STATE OF ILLINOIS )
) SS:

2 COUNTY OF C 00K )
3 I, CAROL RABER, Certified Shorthand
4 Reporter for the State of Illinois, do hereby
5 certify that on the 10th day of November, 2005
6 A.D., the deposition of the witness, ROLLIN J.
7 SOSKIN called by the Defendant, was taken before
8 me, reported stenographically and was thereafter
9 reduced to typewriting through computer-aided
10 transcription.
11 The said deposition was taken at
12 105 W. Madison Street, Suite 1100, Chicago,
13 Illinois, and there were present Counsel as
14 previously set forth.
15 The said witness, ROLLIN J. SOSKIN,
16 was first duly sworn to tell the truth, the whole
17 truth, and nothing but the truth, and was then
18 examined upon oral interrogatories.
19 I further certify that the
20 foregoing is a true, accurate and complete record
21 of the questions asked of and answers made by the
22 said witness, at the time and place hereinabove
23 referred to.
24 The signature of the witness was

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reserved.

The undersigned is not -
interested in the within case, nor of kin or
counsel to any of the parties.

Signed this 2ist day of

November, 2005.

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License No. 084-02819

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